                           NOT FOR PUBLICATION                            FILED
                    UNITED STATES COURT OF APPEALS                        AUG 27 2024
                                                                      MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
                           FOR THE NINTH CIRCUIT

UNITED STATES OF AMERICA,                       No. 23-1529
                                                D.C. No.
             Plaintiff - Appellee,              2:18-cr-00008-JAM-1
 v.
                                                MEMORANDUM*
DEREK BLUFORD,

             Defendant - Appellant.

                   Appeal from the United States District Court
                       for the Eastern District of California
                    John A. Mendez, District Judge, Presiding

                           Submitted August 20, 2024**

Before:      S.R. THOMAS, RAWLINSON, and COLLINS, Circuit Judges.

      Derek Bluford appeals pro se from the district court’s order denying his

second motion for compassionate release under 18 U.S.C. § 3582(c)(1)(A). We

have jurisdiction under 28 U.S.C. § 1291. Reviewing for abuse of discretion, see

United States v. Aruda, 993 F.3d 797, 799 (9th Cir. 2021), we affirm.


      *
             This disposition is not appropriate for publication and is not precedent
except as provided by Ninth Circuit Rule 36-3.
      **
             The panel unanimously concludes this case is suitable for decision
without oral argument. See Fed. R. App. P. 34(a)(2).
      Bluford sought compassionate release on the basis of his serious medical

conditions, the Bureau of Prisons’ alleged failure to provide adequate medical care,

and his rehabilitative efforts. The district court concluded that (1) Bluford had

failed to establish extraordinary and compelling circumstances arising from his

receipt of medical care, and (2) the 18 U.S.C. § 3553(a) sentencing factors did not

support relief given the amount of time remaining on Bluford’s sentence and the

seriousness of his offenses. The district court did not abuse its discretion in

reaching these conclusions, which are supported by the record. See United States

v. Robertson, 895 F.3d 1206, 1213 (9th Cir. 2018) (a district court abuses its

discretion only if its decision is illogical, implausible, or without support in the

record).

      AFFIRMED.




                                          2                                    23-1529
